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   8                        UNITED STATES DISTRICT COURT
   9                     SOUTHERN DISTRICT OF CALIFORNIA
  10   BORREGO COMMUNITY HEALTH                 Case No. 22-cv-1056 AJB-AGS
       FOUNDATION, a California nonprofit
  11   public benefit corporation,              ORDER GRANTING JOINT MOTION
                                                TO EXTEND TIME TO FILE
  12                            Plaintiff,      RESPONSE TO COMPLAINT
  13         vs.
  14   KAREN HEBETS, an individual; et al.
  15                            Defendants.
  16

  17         Upon review of the Joint Motion to Extend Time to File Response to
  18   Complaint filed by Plaintiff and Defendants, and good cause appearing, the Motion is
  19   hereby GRANTED. The Defendants must file an answer, or otherwise respond, to the
  20   Complaint on or before September 29, 2022.
  21         IT IS SO ORDERED.
  22   Dated: August 30, 2022
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